Case 1:16-cv-03418-TWP-DML Document 43 Filed 10/31/17 Page 1 of 2 PageID #: 829



                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 AARON FARRER,                                 )
                                               )
                           Plaintiff,          )
                                               )
                      v.                       )     No. 1:16-cv-03418-TWP-DML
                                               )
 INDIANA UNIVERSITY,                           )
 JASON CASARES,                                )
 AMBER MONROE,                                 )
 ADAM J. HERMAN,                               )
 KATHERYN A. SHIRK,                            )
 HAROLD GOLDSMITH,                             )
 VIVIAN HERNANDEZ, and                         )
 MARION ZERFOSS,                               )
                                               )
                           Defendants.         )


             Order on Motion to Modify Case Management Plan

       Defendant Marion Zerfoss seeks an order staying her participation in

 discovery, including making initial disclosures, until the court rules on a pending

 motion to dismiss she has filed. The plaintiff objects to her motion.

       Ms. Zerfoss asserts that the interrogatories and document requests served by

 the plaintiff are burdensome and would require her to catalog and summarize

 information that the plaintiff already possesses since he relied on much of it in

 writing his complaint—a complaint that is 76 pages long and includes 451 pages of

 exhibits. The exhibits include documents created or compiled by Indiana University

 and the Bloomington Police Department relating to their investigations into

 matters addressed in the complaint.
Case 1:16-cv-03418-TWP-DML Document 43 Filed 10/31/17 Page 2 of 2 PageID #: 830



       The plaintiff asserts that halting discovery is not appropriate because even if

 Ms. Zerfoss were dismissed, he would serve subpoenas on her to seek the same

 documents and to seek her deposition. In reply, Ms. Zerfoss notes that if she were a

 non-party, she could not be compelled to answer interrogatories and she contends,

 generally, that she does not have most of the requested documents.

       The court finds that staying all discovery is not appropriate or efficient for

 case management. It is apparent from Ms. Zerfoss’s motion and reply brief that it is

 not unduly burdensome for her to answer the discovery requests, and the plaintiff is

 entitled to know from her the extent of information and documents she possesses.

                                      Conclusion

       For the foregoing reasons, Ms. Zerfoss’s motion (Dkt. 38) to modify case

 management deadlines is DENIED. She must serve her initial disclosures within

 10 days of the entry of this order on the docket, and must respond to the plaintiff’s

 written discovery requests within 20 days.

       So ORDERED.

                                                ____________________________________
       Dated: October 31, 2017                     Debra McVicker Lynch
                                                   United States Magistrate Judge
                                                   Southern District of Indiana


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